Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 1 of 35 PageID 986



                                   UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

    KAREN L. HICKS,

                Plaintiff,

    -vs-                                                     Case No.: 8:15-cv-00454-VMC-TBM

    WELLS FARGO BANK, N.A., a foreign
    Corporation, ALDRIDGE CONNORS, LLP,
    A foreign Limited Liability Partnership,
    ASSURANT, INC., a foreign corporation, and
    AMERICAN SECURITY INSURANCE
    COMPANY, a foreign corporation,

            Defendants.
    _____________________________________/

                                SECOND AMENDED COMPLAINT 1

           Plaintiff, KAREN L. HICKS, sues the Defendants, WELLS FARGO BANK, N.A.,

ALDRIDGE CONNORS, LLP, ASSURANT, INC., and AMERICAN SECURITY INSURANCE

COMPANY, and alleges as follows:

                                     JURISDICTION AND VENUE

           1.       Jurisdiction of this Court arises under 28 U.S.C. § 1331 as this case presents a

federal question, and pursuant to 28 U.S.C. § 1367 for pendant state law claims.

           2.       Plaintiff brings this action to recover damages for Defendants’ acts in violation of

the Telephone Consumer Protection Act of 1991, 47 U.S.C. § 227, et seq., (hereafter “TCPA”) the

Florida Consumer Collection Practices Act, sections 559.55, et seq., Florida Statutes (hereafter

“FCCPA”), the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereafter “FDCPA”),

the Real Estate Settlement Procedures Act, 12 U.S.C. § 2601, et seq., (hereafter “RESPA”), the



1
 Amended to include referenced exhibits, which were inadvertently omitted when filing the First Amended
Complaint (Dkt. 39)
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 2 of 35 PageID 987



Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962(c) and (d), (hereafter

“RICO”), and for common law Intentional Infliction of Emotional Distress and Slander of Credit.

       3.      The alleged violations described herein occurred in Pinellas County, Florida.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the judicial

district in which a substantial part of the events or omissions giving rise to this action occurred.

                                             PARTIES

       4.      Plaintiff KAREN L. HICKS is a natural persons over the age of eighteen (18), who

resides in St. Petersburg, Pinellas County, Florida.

       5.      Plaintiff is natural person allegedly obligated to pay a debt, as described herein, and

is therefore a “consumer” as that term is defined by section 559.55(8), Florida Statutes.

       6.      Plaintiff is the “called party” with respect to the calls placed to her cellular

telephone number, (727) 410-1616, as further described herein. See Soppet v. Enhanced Recovery

Co., LLC, 679 F.3d 637, 643 (7th Cir. 2012); Breslow v. Wells Fargo Bank, N.A., 755 F.3d 1265,

1266, 1267 Communications Reg. (P & F) 934, (11th Cir.2014).

       7.      Defendant WELLS FARGO BANK, N.A. (hereafter “WELLS FARGO”) is a

foreign corporation with its primary place of business at 101 N. Phillips Avenue, Sioux Falls,

South Dakota 57104, doing business in Florida through its registered agent Corporation Service

Company, 1201 Hays Street, Tallahassee, Florida 32301. Upon information and belief, WELLS

FARGO services its mortgage loans through its division WELLS FARGO HOME MORTGAGE

(hereafter “WFHM”).

       8.      Defendant ASSURANT, INC. (hereafter “ASSURANT”) is a Delaware

corporation with its principal office in New York, New York. ASSURANT participates in the

force-placed insurance market through its trade name, Assurant Specialty Property, and its



                                                  2
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 3 of 35 PageID 988



business strategy “is to pursue long term growth in lender placed homeowner’s insurance. . . The

largest product line within Assurant Specialty Property is homeowners insurance consisting

principally of fire and dwelling hazard insurance offered through [ASSURANT’s] lender placed

program.” 2

       9.      Upon information and belief, ASSURANT owns the “Assurant Specialty Property”

trade name and allows its subsidiaries (including AMERICAN SECURITY INSURANCE

COMPANY) to operate their force-placed insurance business under that name.

       10.     Defendant AMERICAN SECURITY INSURANCE COMPANY (hereafter

“ASIC”) is a Delaware corporation and an indirect subsidiary of ASSURANT, writing force-

placed insurance policies in all fifty states and the District of Columbia with its principal address

in Atlanta, Georgia. ASIC often operates under the trade name “Assurant Specialty Property.”

American Security contracts with the lenders to act as a force-placed insurance vendor. Its duties

include, but are not limited to, tracking loans in their mortgage portfolio, handling all customer

service duties related to force-placed insurance, and securing force-placed insurance policies on

properties when a borrower’s insurance has lapsed.

       11.     Upon information and belief, ASIC passes much of its profits from force-placed

insurance to its corporate parent, ASSURANT.

       12.     Defendant ALDRIDGE CONNORS, LLP, (hereafter “ALDRIDGE CONNORS”)

is a Georgia Limited Liability Partnership with its primary place of business at Fifteen Piedmont

Center, 3575 Piedmont Rd., NE, Suite 500, Atlanta GA, 30305, doing business in Florida through

its registered agent and Florida Offices, at 1615 South Congress Road, Suite 200, Delray Beach

FL, 33445. According to its website, ALDRIDGE CONNORS “is a full service provider of legal


2
 See Assurant Form 10-K for the fiscal year ending December 31, 2011, at 5, available at
http://www.sec.gov/Archives/edgar/data/1267238/000119312512075371/d257568d10k.htm.

                                                 3
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 4 of 35 PageID 989



services to depository and non-depository financial institutions including, banks, mortgage

servicing concerns, institutional investors, private firms, and other commercial clients,” focusing

on the following practice areas, in relevant part: “Mortgage Default Services,” “Litigation

Services,” “National Eviction Practice Group,” and “Residential Real Estate Transaction

Services.”

                                   FACTUAL ALLEGATIONS

        13.     At all times material hereto, Defendant WELLS FARGO sought to collect an

alleged debt from Plaintiff KAREN L. HICKS that arose from a transaction allegedly incurred for

personal, family or household purposes, and is therefore a “consumer debt” as that term is defined

by section 559.55(6), Florida Statutes.

        14.     At all times material, Defendant WELLS FARGO was the servicer of an alleged

mortgage loan debt owed solely by Plaintiff’s deceased mother, Donna Hicks (hereafter the

“Subject Mortgage Loan”), which was secured by a residential property located at 5815 Bali Way

N, St. Petersburg, FL 33706 (hereafter the “Subject Property”). The Subject Mortgage Loan debt

is the subject of the unlawful collection activity at issue in this action.

        15.     As described herein, Defendant WELLS FARGO employed business practices

resulting in intentional harassment and abuse of the Plaintiff and engaged in patterns of outrageous,

abusive and harassing conduct by and through its agents and representatives in an effort to collect

the above referenced debt from the Plaintiff.

        16.     Upon acquiring the servicing rights for the Subject Mortgage Loan, WELLS

FARGO established an account for Donna Hicks, which included the following designations, in

relevant part: the Subject Mortgage Loan was designated as “Loan Number 0035539972,” and




                                                   4
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 5 of 35 PageID 990



Donna Hicks was designated as “Client Number 708” in connection with the Subject Mortgage

Loan (hereafter collectively the “Donna Hicks Account”).

       17.     On June 17, 2008, Plaintiff’s mother, Donna Hicks, passed away.

       18.     At the time of her death on June 17, 2008, the total remaining balance owed by

Donna Hicks on the Subject Mortgage Loan was approximately sixty-seven thousand dollars

($67,000).

       19.     On July 15, 2008, Plaintiff sent Defendant WELLS FARGO a copy of the death

certificate reflecting that Donna Hicks had passed away on June 17, 2008 (hereafter “Death

Certificate”), and a copy of the Revocable Inter Vivos Trust Agreement of Donna Hicks (hereafter

“Trust Agreement”), reflecting that Plaintiff is the Successor Trustee as well as the beneficiary for

distribution on death. See Exhibit “A” hereto.

       20.     Donna Hicks died intestate. Pursuant to the Trust Agreement, ownership of the

Subject Property was transferred to Plaintiff. Furthermore, at the time of her death, Donna Hicks

owned no property other than that which was distributed pursuant to the Trust Agreement.

Accordingly, probate proceedings were not required under Florida law, and no probate estate was

established with respect to Donna Hicks.

       21.     Thereafter, Plaintiff attempted to contact Defendant WELLS FARGO in an effort

to maintain possession of her deceased mother’s property by paying off the Subject Mortgage Loan

in full, in exchange for a satisfaction of mortgage, but was told by Defendant’s representatives that

WELLS FARGO had not received a copy of the Death Certificate and Trust Agreement, and

therefore refused to discuss any details of the Donna Hicks Account with Plaintiff because she was

not named on the loan agreement, was not a signatory to the loan agreement, and they would only

speak with the party named on the loan agreement, Plaintiff’s dead mother, Donna Hicks.



                                                 5
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 6 of 35 PageID 991



        22.   Plaintiff subsequently mailed the Death Certificate and Trust Agreement to

WELLS FARGO via US Mail on two (2) additional occasions. Each time Plaintiff mailed the

Death Certificate and Trust Agreement, Plaintiff subsequently contacted WELLS FARGO to

request the amount required to pay the Subject Mortgage Loan in full (hereafter “Total Payoff

Amount”), and to discuss closing the Donna Hicks Account, and obtaining a satisfaction of the

note and mortgage from WELLS FARGO. However, each time Plaintiff contacted WELLS

FARGO after mailing the aforementioned documents, Defendant’s representatives consistently

denied having received the Death Certificate and Trust Agreement, refused to provide Plaintiff

with the requested Total Payoff Amount, refused to discuss the winding down of the Donna Hicks

Account or the satisfaction of the note and mortgage, and simply reiterated that WELLS FARGO

would only speak with Donna Hicks regarding such account details.

        23.   Over the course of the period described in paragraphs (18) through (21), above,

during which time Plaintiff was attempting to obtain the information from Defendant necessary to

pay the Subject Mortgage Loan in full and attempting to resolve Defendant’s authorization and

missing paperwork problems, as described above, Plaintiff voluntarily made several of the

$1,615.92 monthly installment payments on the Subject Mortgage Loan.

        24.   However, on or about July 15, 2010, Defendant illegally and without Plaintiff’s

authorization, debited $1,615.92 directly from Plaintiff’s personal checking account with

Wachovia Bank, purportedly representing a monthly installment payment owed under the Subject

Mortgage Loan. Plaintiff had never provided Defendant with authorization to withdraw funds from

the account at issue. Moreover, Plaintiff was at no time legally obligated to pay the Subject

Mortgage Loan, nor did Plaintiff ever enter into any contractual agreement with respect to said

debt.



                                               6
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 7 of 35 PageID 992



       25.    On or about July 26, 2010, Plaintiff sent Defendant WELLS FARGO a letter,

certified mail, return receipt requested, article number 7009 1410 0001 3206 5588, notifying

Defendant that it had illegally debited $1,615.92 from Plaintiff’s personal checking account,

without authorization, and demanded that it be returned immediately. See Exhibit “B” hereto.

       26.    Thereafter, because of Defendant’s illegal and unauthorized conduct in

withdrawing funds from Plaintiff’s private checking account, and in view of Defendant’s ongoing

refusal to cooperate with Plaintiff despite her efforts to comply with all of the Defendant’s

procedures for obtaining account authorization, Plaintiff discontinued making monthly installment

payments on her deceased mother’s Subject Mortgage Loan.

       27.    Thereafter, Plaintiff began contacting the CEO of WELLS FARGO, John Stumpf,

expressing her extreme disappointment with WELLS FARGO’s business practices, and explaining

the frustration, disappointment and anger she had experienced over the previous years as a result

of WELLS FARGO’s handling of this situation, immediately after unexpectedly losing her mother.

       28.    On or about May 5, 2011, Plaintiff sent another letter to WELLS FARGO via UPS

2nd Day Air, tracking number 1ZBA595Y0292167396, once again enclosing copies of the Death

Certificate and Trust Agreement. The letter was delivered to WELLS FARGO on or about May 9,

2011. See Exhibit “C” hereto.

       29.    On or about May 13, 2011, Plaintiff communicated via telephone with a WELLS

FARGO representative identified as “Jill Kottke,” who was employed by Defendant as an

“Executive Mortgage Specialist” in the office of WELLS FARGO’s CEO, John Stumpf. During

said call, Plaintiff explained to Ms. Kottke that she had mailed the Death Certificate and Trust

Agreement to WELLS FARGO on four (4) separate occasions, the most recent of which occurred

on May 5, 2011, and UPS confirmed that the letter sent on May 5, 2011 was received and signed



                                               7
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 8 of 35 PageID 993



for by a WELLS FARGO representative on May 9, 2011 at 9:07 am. Ms. Kottke told Plaintiff that

WELLS FARGO was not in possession of the Death Certificate and Trust Agreement, requested

that Plaintiff provide proof of delivery, and refused to discuss any details of the Donna Hicks

Account with Plaintiff.

          30.   On or about May 15, 2011, Plaintiff sent a letter to Defendant’s CEO, John Stumpf,

via US Mail and Facsimile, summarizing Plaintiff’s discussion with Ms. Kottke on May 13, 2011,

as described above, and enclosing a copy of the UPS proof of delivery demonstrating that delivery

was made on May 9, 2011 at 9:07 am. See Exhibit “D” hereto.

          31.   On or about June 15, 2011, the Florida Default Law Group (hereafter “FDLG”),

which had been retained by WELLS FARGO to pursue a foreclosure action with respect to the

Subject Mortgage Loan, transmitted a “Payoff Letter” to Plaintiff. The Payoff Letter reflected that

the “Total Payoff Amount” demanded by WELLS FARGO as of that date had increased

significantly to $112,762.13 -- an increase of over $45,000, or 68%, from the amount owed exactly

three (3) years prior -- and provided an itemization of the various charges that constitute the Total

Payoff Amount, in addition to providing payment instruction for transmitting the Total Payoff

Amount to the FDLG in exchange for a satisfaction of the note and mortgage. See Exhibit “E”

hereto.

          32.   On or about June 22, 2011, Plaintiff sent a letter to the FDLG offering to pay the

$67,746.76 that was owed to WELLS FARGO when Donna Hicks passed away and when Plaintiff

first began attempting to resolve this matter in full, prior to WELLS FARGO escalating the balance

by imposing excessive amounts of unnecessary, false, and unearned fees, interest, and charges,

which were solely attributable to WELLS FARGO’s own reckless, willful, and/or malicious acts

and omissions in servicing this loan.



                                                 8
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 9 of 35 PageID 994



       33.     On or about July 20, 2011, Defendant’s representative Jill Kottke sent a letter to

Plaintiff explaining that she had thoroughly researched the issues previously raised by Plaintiff, as

described above. With respect to Plaintiff’s contentions that she sent the Death Certificate and

Trust Agreement to WELLS FARGO on numerous occasions and that WELLS FARGO denied

receiving them and refused to discuss the details of the Donna Hicks Account with Plaintiff, Ms.

Kottke explained that WELLS FARGO can only provide “loan level” information to “authorized”

parties, which, in the case of a deceased borrower, requires legal documents naming the party as

the authorized representative of the estate. Ms. Kottke then acknowledged that Defendant’s own

records show that the Death Certificate and Trust Agreement were, in fact, received by WELLS

FARGO on July 15, 2008, and again on August 15, 2008 but “[d]ue to an oversight this

authorization was not added to the account until July 20, 2011.” (emphasis added). See Exhibit

“F” hereto.

       34.     The aforementioned July 20, 2011 letter from Ms. Kottke went on to state that the

FDLG forwarded Plaintiff’s June 22, 2011 letter, in which she offered to pay the $67,746.76 that

was owed on the loan when Plaintiff began contacting WELLS FARGO in July of 2008, to the

owner of the loan, Federal Home Loan Mortgage Corporation (hereafter “Freddie Mac”) for

review, and that Freddie Mac had denied the offer, which it understood to be a “short payoff offer,”

because it was less than the $112,999.29 WELLS FARGO claimed was owed as of that date. Ms.

Kottke further stated that the decision to reject Plaintiff’s offer of $67,746.76 was motivated by

the fact that the value of the Subject Property was sufficient to cover the entire escalated balance

claimed by WELLS FARGO of $112,999.29 “if sold,” ostensible referencing WELLS FARGO

foreclosing on the mortgage and selling the property.




                                                 9
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 10 of 35 PageID 995



        35.     On or about August 11, 2011, Plaintiff sent a follow-up letter to Jill Kottke, offering

 to increase Plaintiff’s previous offer of $67,746.76, and would provide a check for $70,000 in

 exchange for a satisfaction of the note and mortgage, which would be payable in full immediately.

 Plaintiff noted that per Ms. Kottke’s own admission, WELLS FARGO was in possession of

 multiple copies of the Death Certificate and Trust Agreement, the first of which was received on

 July 15, 2008, but WELLS FARGO’s inexplicable failure to acknowledge Plaintiff as an

 “authorized” party prohibited viable communication for the entire three (3) year period from July

 of 2008 until Ms. Kottke finally resolved the issue in July of 2011, even though the appropriate

 documents were in Defendant’s record system all along. Plaintiff added that she was “willing to

 come to the bargaining table” if WELLS FARGO were willing to engage in sincere, good faith

 communication in order to resolve all issues. See Exhibit “G” hereto.

        36.     Defendant failed to respond to Plaintiff’s above described August 11, 2011 letter,

 and declined to accept the Plaintiff’s $70,000 offer set forth therein.

        37.     Thereafter, in light of Defendant’s refusal to even consider Plaintiff’s

 aforementioned offers to pay off the loan in full for an amount that was representative of the

 balance owed at a time when, by WELLS FARGO’s own admission, it possessed the necessary

 legal documents to provide Plaintiff with the information required to pay off the loan, and because

 of the incredible amount of time and emotional effort she had invested to no avail, Plaintiff ceased

 her efforts to settle the loan with WELLS FARGO.

        38.     Although WELLS FARGO was well aware by 2011 that Plaintiff’s mother was

 deceased, and it was likewise well aware that Plaintiff was not legally obligated to pay the Subject

 Mortgage Loan, inexplicably, in 2011, Defendant WELLS FARGO initiated its campaign of

 abusive and insensitive collection harassment against Plaintiff personally, including, in relevant



                                                  10
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 11 of 35 PageID 996



 part: (1) by filing legal action against Plaintiff in which it was alleged that Plaintiff was liable to

 Defendant for a possible deficiency judgment; (2) by furnishing adverse credit reporting

 information to the Consumer Reporting Agencies (“CRA”) with respect to Plaintiff, asserting that

 the Subject Mortgage Loan was a valid debt owed by Plaintiff, and that Plaintiff was severely

 delinquent with respect thereto; (3) by sending correspondence addressed to “Donna Hicks

 Deceased” and requesting that Plaintiff’s deceased mother execute documents; (4) by placing more

 than a thousand collection calls to Plaintiff on her cellular telephone, home telephone, business

 telephone, and even her fax line, often times asking to speak with “Donna Hicks” regarding the

 subject loan, causing Plaintiff to become very upset and extremely emotional at times, having

 repeatedly instructed Defendant’s representatives that Donna Hicks is deceased, and to stop calling

 her. Often times Defendant’s calls, asking for her deceased mother regarding the mortgage, seemed

 callous, aggressive and unsympathetic, and caused Plaintiff to experience severe anxiety, resulting

 in Plaintiff frequently crying and having difficulty sleeping after getting the calls.

         39.    Defendant WELLS FARGO has engaged in conduct in violation of the TCPA and

 the FCCPA, and constituting intentional harassment and abuse of the Plaintiff, by and through its

 agents and representatives, on numerous occasions, within the four (4) year period preceding the

 filing of this action, initiating calls to Plaintiff’s aforementioned telephone and facsimile lines

 several times per day, and on back to back days, with such frequency as can reasonably be expected

 to harass, in an effort to collect the above described debt that Plaintiff does not owe.

         40.    To date, Defendant WELLS FARGO has placed in excess of five hundred (500)

 calls to Plaintiff on her aforementioned cellular telephone number in an effort to collect the subject

 debt.




                                                   11
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 12 of 35 PageID 997



         41.     Additionally, to date, Defendant WELLS FARGO has placed in excess of one-

 thousand (1,000) calls to Plaintiff on her residential, business and facsimile numbers in an effort

 to collect the subject debt.

         42.     Notably, on several occasions, WELLS FARGO sent Plaintiff correspondence

 acknowledging Plaintiff’s requests that the collection calls cease. Cf., Exhibit “H” hereto.

 However, Defendant’s correspondence regarding making the calls stop was likewise received as

 insensitive and cruel, having been addressed to “Donna Hicks Deceased,” stating “[t]hank you for

 your recent call,” and requiring a signature from “Donna Hicks Deceased” in order to process the

 request. Moreover, Defendant simply disregarded Plaintiff’s repeatedly verbal instructions that

 Defendant WELLS FARGO stop calling her regarding the subject debt. Defendant proceeded

 undeterred in its campaign of intentional harassment and abuse of the Plaintiff in an effort to collect

 the debt, including but not limited to:

                 a.      Calling Plaintiff’s aforementioned cellular telephone number, residential

         telephone number, business telephone number, and facsimile number, several times per

         day and on back to back days through the current date (or such time as will be established

         after a thorough review of Defendant’s records). In most instances, Defendant would place

         multiple calls to the above described telephone numbers within minutes of each other;

                 b.      Calling Plaintiff’s aforementioned cellular telephone number, residential

         telephone number, business telephone number, and facsimile number, from an automated

         telephone dialing system and leaving pre-recorded messages on Plaintiff’s answering

         machine and voice mail boxes, identifying Plaintiff and stating that the message was left

         in “an attempt to collect a debt”;




                                                   12
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 13 of 35 PageID 998



                 c.        Calling Plaintiff’s aforementioned cellular telephone number, residential

         telephone number, business telephone number, and facsimile number, and hanging up

         either prior to or as soon as Plaintiffs, members of Plaintiff’s household, or the Plaintiff’s

         answering machine or voice mail boxes answered the call;

                 d.        Calling Plaintiff from numerous different telephone numbers that appeared

         on Plaintiff’s caller ID as someone or some entity other than Defendant or with no

         identification;

         43.     During many of these calls, Defendant would leave messages on Plaintiff’s

 answering machine, which is open to be heard by anyone in hearing range, stating that the message

 was left in an attempt to collect a debt. Plaintiff, and Plaintiff’s minor children, were mortified

 when their guests heard these messages, as the messages gave the impression that Plaintiff could

 not pay her bills.

         44.     The telephone calls at issue were placed by Defendant WELLS FARGO using an

 “automated telephone dialing system” as specified by the TCPA, 47 U.S.C. § 227(a)(1), which has

 the capacity to store or produce telephone numbers to be called, using a random or sequential

 number generator, and to dial such numbers; and/or which has the capacity to dial numbers from

 a list without human intervention (hereafter “ATDS” or “autodialer”).

         45.     Defendant WELLS FARGO initiated each of the calls at issue to Plaintiff’s

 aforementioned cellular telephone numbers without the “prior express consent” of Plaintiff, as

 specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         46.     Additionally, none of the telephone calls at issue were placed by Defendant

 WELLS FARGO to Plaintiff’s aforementioned cellular telephone number for “emergency

 purposes” as specified by the TCPA, 47 U.S.C. §227 (b)(1)(A).



                                                   13
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 14 of 35 PageID 999



         47.     Defendant WELLS FARGO willfully and/or knowingly violated the TCPA with

 respect to Plaintiff.

         48.     Defendant WELLS FARGO has a corporate policy of using an automatic telephone

 dialing system or a pre-recorded or artificial voice message, just as it did when calling the

 Plaintiff’s aforementioned cellular telephone number, as described herein.

         49.     Despite actual knowledge of its wrongdoing, Defendant WELLS FARGO

 continued its campaign of abuse.

         50.     Defendant WELLS FARGO’s corporate policy provided no means for the Plaintiff

 to have her aforementioned cellular telephone number removed from the call list.

         51.     Defendant WELLS FARGO has a corporate policy to harass and abuse individuals

 like the Plaintiff despite actual knowledge that the called parties did not provide prior express

 consent to receive the calls, or had revoked such prior express consent verbally, in writing, or

 through retention of legal counsel.

         52.     In 2013, Defendant WELLS FARGO, by and though its current foreclosure

 counsel, Defendant ALDRIDGE CONNORS, initiated a foreclosure action against Plaintiff in a

 case styled Wells Fargo Bank, N.A. v. Karen Hicks, et al, Case No.: 13-CI-002225-CI, in the Sixth

 Judicial Circuit in and for Pinellas County, Florida, (hereafter “Foreclosure Action”), in which

 Defendants sought to enforce the security interest under the subject mortgage and sought payment

 on the subject promissory note, including seeking a potential deficiency judgment as against

 Plaintiff, despite the fact that Plaintiff was never legally obligated to pay the subject debt.

         53.     Defendant’s ongoing pattern of increasingly aggressive collection efforts against

 the Plaintiff, including the incessant collection calls often asking Plaintiff’s dead mother, and the

 cruel letters addressed to “Donna Hicks Deceased,” which served as a constant reminder of her



                                                   14
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 15 of 35 PageID 1000



 tragic passing, coupled with Defendant’s false reporting of the debt to the CRAs as being owed by

 Plaintiff, and its filing of a legal action aimed at seeking a personal deficiency judgment against

 Plaintiff, caused Plaintiff to become exceedingly fearful that Defendant could potentially obtain a

 deficiency judgment against her if WELLS FARGO continued escalating the total balance at the

 same rate it previously had based on the previous payoff statement.

        54.     On or about January 2, 2015, Plaintiff filed an Emergency Motion to Compel in the

 above described Foreclosure Action, seeking to compel WELLS FARGO to provide a payoff

 figure for the subject debt, reflecting the total amount WELLS FARGO claimed it was owed as of

 that date. See Exhibit “I” hereto.

        55.     On or about January 5, 2015, WELLS FARGO’s foreclosure counsel, Defendant

 ALDRIDGE CONNORS, sent Plaintiff a “payoff” letter, reflecting that the amount WELLS

 FARGO claimed was owed as of that date had grown to an astonishing $203,797.17 – an increase

 of over $136,000 (or 200%) more than the $67,000 owed on the loan when Plaintiff’s mother died

 and Plaintiff began requesting to payoff of the loan. The payoff statement reflected that the

 $203,797.17 consisted, in large part, of a principal balance of 73,246.76, interest in the amount of

 $19,888.06, and an escrow balance of $103,791.07. See Exhibit “J” hereto.

        56.     On or about January 12, 2015, Plaintiff filed a Motion for Detailed Accounting of

 Payoff Figure and Motion for Hearing on Attorney’s Fees in the above described Foreclosure

 Action. See Exhibit “K” hereto.

        57.     On or about January 14, 2015, Defendant ALDRIDGE CONNORS provided a

 breakdown of the escrow balance, reflecting that the majority of the $103,791.07 escrow balance

 consisted of forced-placed insurance policies, which were placed by WELLS FARGO with its

 affiliates, Defendants ASSURANT and ASIC, and which Plaintiff had never been made aware of



                                                 15
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 16 of 35 PageID 1001



 as a result of WELLS FARGO’s refusal to communicate with Plaintiff concerning the details of

 the account for several years. See Exhibit “L” hereto.

        58.     Upon receiving the above described payoff letter from ALDRIDGE CONNORS,

 and seeing the astronomical balance of $203,797.17 claimed by WELLS FARGO, Plaintiff feared

 that if she continued to defend the foreclosure suit, while WELLS FARGO continued to escalate

 the amount it claimed was owed, Plaintiff could be exposed to a significant judgment if she did

 not prevail. As a result, Plaintiff sold the home under duress, and nearly all of the money from the

 sale went to pay WELLS FARGO.

        59.     After weighing her options, and considering the risk, Plaintiff made the decision to

 sell her mother’s home in exchange for a satisfaction of the note and mortgage from WELLS

 FARGO, and thereby eliminating any risk that she could be wrongfully exposed to owing a money

 judgment.

        60.     On January 20, 2015, WELLS FARGO executed a satisfaction of the subject

 mortgage, which was recorded on that same date in the Pinellas County Official Records at Book:

 18651, Page: 283. See Exhibit “M” hereto.

        61.     Despite the subject loan having been satisfied in full, and the satisfaction of

 mortgage having been executed by WELLS FARGO, Defendant ALDRIDGE CONNORS failed

 to inform the court in the foreclosure action of this fact, and declined to respond to Plaintiff’s

 efforts to communicate with ALDRIDGE CONNORS regarding the cancellation of the

 forthcoming hearing on her motion to dismiss on the merits. Rather, ALDRIDGE CONNORS

 appeared at the hearing, in the absence of the Plaintiff, failed to inform the judge that the case was

 no longer in dispute, and continued to represent the case an ongoing matter.




                                                  16
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 17 of 35 PageID 1002



           62.   On February 3, 2015, Plaintiff filed a motion to dismiss in the foreclosure action,

 informing the court that the note and mortgage had been satisfied, enclosed a copy of the recorded

 release of mortgage, explained the above described facts regarding ALDRIDGE CONNORS’s

 conduct, and requested attorney’s fees and costs based on ALDRIDGE CONNORS’s bad faith

 conduct in multiplying the proceedings.

           63.   On April 10, 2015, ALDRIDGE CONNORS filed a Notice of Voluntary Dismissal

 Without Prejudice in the subject foreclosure action, which was subsequently recorded in the

 Pinellas County Official Records, at Book 18745, Page 1343.

           64.   As set forth above, at no time was Plaintiff legally obligated to pay the Subject

 Mortgage Loan.

           65.   At all times material hereto, Defendant ALDRIDGE CONNORS was aware that

 Plaintiff did not owe the subject debt to Defendant WELLS FARGO, but nevertheless, proceeded

 to threaten foreclosure in written correspondence prior to doing so, initiate foreclosure proceedings

 against Plaintiff to recover a deficiency judgment as against Plaintiff personally, and send Plaintiff

 collection letters reflecting amounts that the Plaintiff is not legally obligated to pay, and including

 an escrow balance consisting of excessively priced force-placed insurance policies, as described

 herein.

           66.   Defendant WELLS FARGO followed its corporate policies when attempting to

 communicate with the Plaintiff in connection with the debt at issue.

           67.   Defendant WELLS FARGO has been the recipient of numerous complaints from

 debtors, alleged debtors, and non-debtors across the country, similar to those alleged in this action

 by Plaintiff.




                                                   17
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 18 of 35 PageID 1003



        68.     Defendant WELLS FARGO is, or should be, in possession and/or control of call

 logs, account notes, autodialer reports and/or other records that detail the exact number of calls

 made to Plaintiff’s cellular telephone number over the relevant time period.

        69.     As a direct and proximate result of the acts or omissions of WELLS FARGO and

 ALDRIDGE CONNORS, as set forth herein, Plaintiff has suffered compensatory, statutory and

 actual damages in the form of emotional distress, anxiety, fear, worry, embarrassment and mental

 suffering, pain, anguish, and loss of capacity for the enjoyment of life.

        70.     Plaintiff’s statutory and actual damages in the form of emotional distress, anxiety,

 fear, worry, embarrassment and mental suffering, pain, anguish, and loss of capacity for the

 enjoyment of life pursuant to section 559.77, Florida Statutes, and as described by 15 U.S.C. 1692

 have continued and are continuing as of the filing of this complaint.

        71.     All conditions precedent to the filing of this action have occurred or have otherwise

 been waived.

                 FORCE PLACED INSURANCE SPECIFIC ALLEGATIONS

         72.    Defendants ASSURANT and ASIC (hereafter collectively “The Assurant

 Defendants”) have exclusive arrangements with Defendant WELLS FARGO to monitor its

 mortgage portfolio and provide force-placed insurance. In addition to the subsidized mortgage

 services it receives from the Assurant Defendants, WELLS FARGO and/or its affiliates are kicked

 back a percentage of the force-placed premium or are paid direct payments for the exclusive

 relationship disguised as qualified expense reimbursements. WELLS FARGO receives additional

 compensation through captive reinsurance arrangements.

        73.     The forced-placed insurance scheme works as follows: WELLS FARGO

 purchases master or “umbrella” insurance policies that cover its entire portfolio of mortgage



                                                  18
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 19 of 35 PageID 1004



 loans. In exchange, the Assurant Defendants are given the exclusive right to force insurance on

 property securing a loan within the portfolio when the borrower’s insurance lapses or the lender

 determines the borrower’s existing insurance is inadequate. ASSURANT and its affiliates

 monitor WELLS FARGO’s entire loan portfolio for lapses in borrowers’ insurance coverage.

 Once a lapse is identified, an ASSURANT affiliate, (in this case, ASIC), sends notice to the

 borrower that insurance will be “purchased” and force-placed if the voluntary coverage is not

 continued. If a lapse continues, the insurer notifies the borrower that insurance is being force -

 placed at his or her expense.

        74.     No individualized underwriting ever takes place for the force-placed coverage.

 Insurance is automatically placed on the property and the premium charged to the borrower. In

 many instances, the insurance lapse is not discovered for months or even years after the fact.

 Despite the absence of any claim or damage to the property during the period of lapse,

 retroactive coverage is placed on the property and the borrower is charged for the “cost” of the

 past premiums.

        75.     Once coverage is forced on the property, WELLS FARGO pays the insurer for the

 premium and then charges the borrower for the payment, which is either deducted from the

 borrower’s mortgage escrow account or added to the balance of the borrower’s loan. The

 borrower’s escrow account is depleted irrespective of whether other escrow charges, such as

 property taxes, are also due and owing.

        76.     After WELLS FARGO pays the premiums to ASSURANT and ASIC, the Assurant

 Defendants kick back a set percentage of that amount to WELLS FARGO or its affiliates as a

 “commission.” Upon information and belief, WELLS FARGO’s affiliates share a percentage of

 that payment with WELLS FARGO, sometimes in the form of “soft dollar” credits.



                                                19
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 20 of 35 PageID 1005



           77.   Further, WELLS FARGO has an arrangement with the Assurant Defendants that

 “qualified expense reimbursement” payments were to be made to WELLS FARGO and/or an affiliate

 of WELLS FARGO. These “expense reimbursements” are not legitimate reimbursements for actual

 costs and were simply another form of a kickback to WELLS FARGO for the exclusive arrangement

 to force-place insurance. These affiliates of WELLS FARGO are shell entities used exclusively for

 receipt of the illegitimate reimbursements and do not perform any bona fide services for the payments

 that they received.

           78.   The money paid back to WELLS FARGO and its affiliates is not given in

 exchange for any services provided by them; it is simply grease paid to keep the force-placed

 machine moving. In an attempt to mask the kickbacks as legitimate, ASSURANT or ASIC will

 often disclose to the borrower that WELLS FARGO or its affiliates may earn commissions or

 compensation as a result of the forced placement of new coverage. In reality, however, no work

 is ever done by WELLS FARGO or the affiliates, to procure insurance for that particular

 borrower because the coverage comes through the master or umbrella policy already in place

 due to the exclusive relationship in place. As a result, no commission or compensation is

 “earned” and, in addition, neither WELLS FARGO nor its affiliates incur any costs in relation

 to force-placing insurance on any particular borrower and therefore no “expense reimbursement”

 is due.

           79.   Under this highly profitable force-placed insurance scheme, WELLS FARGO is

 incentivized to purchase and force place insurance policies with artificially inflated premiums on

 a borrowers’ properties because the higher the cost of the insurance policy, the higher the kickback.

           80.   ASSURANT and WELLS FARGO also enter into agreements for ASIC to provide

 servicing activities on WELLS FARGO’s entire loan portfolio at below cost. The servicing costs

 are added into the force-placed premiums which are then passed on to the borrower. The insurers

                                                  20
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 21 of 35 PageID 1006



 are able to provide these services at below cost because of the enormous profits they make from

 the hyper- inflated premiums charged for force-placed insurance. However, because insurance-

 lapsed mortgaged property comprises only 1-2% of the lenders’ total mortgage portfolio, the

 borrowers who pay these premiums unfairly bear the entire cost to service the entire loan portfolio.

 These charges, passed on to borrowers are not properly chargeable to the borrower because they

 are expenses associated with the servicing of all the loans and the loan servicers are already

 compensated for these activities.

        81.       The small percentage of borrowers who are charged for force-placed insurance

 shoulder the costs of monitoring WELLS FARGO’s entire loan portfolio, effectively resulting

 in a kickback.

        82.       In addition, upon information and belief, the Assurant Defendants enter into

 essentially riskless “captive reinsurance arrangements” with WELLS FARGO’s affiliates to

 “reinsure” the property insurance force-placed on borrowers.

        83.       WELLS FARGO’s reinsurance program, like those of other lenders, is simply a

 way to funnel profits, in the form of ceded premiums, to WELLS FARGO at borrowers’ expense.

 While reinsurance can, and often does, serve a legitimate purpose, here it does not. On information

 and belief, WELLS FARGO and/or its affiliates enter into reinsurance agreements with the

 Assurant Defendants that provide that the insurer will return to WELLS FARGO significant

 percentages of the premiums charged borrowers by way of ceded reinsurance premiums to WELLS

 FARGO affiliates or subsidiaries. The ceded premiums are nothing more than a kickback to

 WELLS FARGO and a method for Defendants to profit from the forced placement of new

 coverage. Indeed, while WELLS FARGO and/or its affiliates purportedly provided reinsurance,

 they did not assume any real risk.



                                                 21
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 22 of 35 PageID 1007



        84.     WELLS FARGO also overcharges borrowers by disregarding the Standard

 Mortgage Clause or the Lender’s Loss Payable Endorsement (“LLPE”) in its standard form

 mortgage agreement. Either of these clauses typically protects the lender for a period of at least

 ten days after the termination of the homeowner’s voluntary insurance policy. Force-placed

 policies, however, take effect on the date of termination, and “double-cover” the property

 unnecessarily during the period covered by the LLPE or Standard Mortgage Clause. This means

 the borrower is charged for coverage for which the lender or servicer has no exposure.

        85.     The amounts charged borrowers are also inflated by the interest that accrues on the

 amounts owed for force-placed coverage; when WELLS FARGO adds the cost of the high-priced

 premium to a homeowner’s mortgage balance, it thereby increases the interest paid over the life of

 the loan by the homeowner to the lender.

        86.     The actions and practices described above are unconscionable and undertaken in

 bad faith with the sole objective to maximize profits. Borrowers who for whatever reason have

 stopped paying for insurance or are under-insured on mortgaged property are charged hyper-

 inflated and illegitimate noncompetitive amounts for force-placed insurance. These charges are

 inflated to include undisclosed kickbacks to the Defendants or their affiliates (who, as described

 above, perform little to no functions related to the force-placement of the individual policies), as

 well as the cost of captive reinsurance arrangements, and discounted administrative services.

        87.     Borrowers have no say in the selection of the force-placed insurance carrier or the

 terms of the force-placed insurance policies. Force-placed policies are commercial insurance

 policies and their terms are determined by the lender or servicer -- WELLS FARGO, and the

 insurer -- the Assurant Defendants.




                                                 22
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 23 of 35 PageID 1008



         88.     Plaintiff challenges Defendants’ manipulation of the force-placed insurance market

 with an eye toward artificially inflating premiums and placing unnecessary coverage, which

 WELLS FARGO purchases from the Assurant Defendants and then chooses to pass on to the

 borrower. Lenders, like WELLS FARGO, are financially motivated to utilize the insurer, like the

 Assurant Defendants, that offers it the best financial benefit in the terms of “commissions,”

 “expense reimbursements,” discounted tracking services, or ceded reinsurance premiums.

                                               COUNT I

                         (Violation of the TCPA against WELLS FARGO)

         89.     Plaintiffs re-allege and incorporate by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         90.     None of the calls at issue were placed by Defendant WELLS FARGO to Plaintiff’s

 aforementioned cellular telephone number with the “prior express consent” of Plaintiff, as

 specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

         91.     Furthermore, Plaintiff revoked any “prior express consent” Defendant WELLS

 FARGO may have mistakenly believed it had by verbally requesting that Defendant stop placing

 calls to her aforementioned cellular telephone number regarding the debt at issue on numerous

 occasions.

         92.     Furthermore, none of the calls at issue were placed by Defendant WELLS FARGO

 to Plaintiff’s aforementioned cellular telephone number for “emergency purposes” as specified by

 the TCPA, 47 U.S.C. §227 (b)(1)(A).

         93.     Defendant WELLS FARGO willfully and/or knowingly violated the TCPA with

 respect to Plaintiff by repeatedly placing calls to Plaintiff’s cellular telephone number using an

 ATDS and/or artificial or prerecorded voice without Plaintiff’s prior express consent, invitation or



                                                 23
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 24 of 35 PageID 1009



 permission, and by continuing to call the Plaintiff after Plaintiff demanded that it cease placing

 calls, as specifically prohibited by the TCPA, 47 U.S.C. §227(b)(1)(A)(iii).

         94.     The TCPA provides Plaintiff with a private right of action against Defendant

 WELLS FARGO for its violations of the TCPA, as described herein, pursuant to 47 U.S.C.A. §

 227(b)(3), and permits both injunctive relief in addition to statutory damages.

         WHEREFORE the Plaintiff, KAREN L. HICKS, respectfully demands judgment against

 Defendant WELLS FARGO for statutory damages, actual damages, punitive damages, an

 injunction from similar conduct in the future, costs, interest, and any other such relief the court

 may deem just and proper.

                                               COUNT II

                        (Violation of the FCCPA against WELLS FARGO)

         95.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         96.     At all times material to this action Defendant was and is subject to and must abide

 by the law of Florida, including section 559.72, Florida Statutes.

         97.     Defendant WELLS FARGO engaged in an act or omission prohibited under section

 559.72(5), Florida Statutes, by disclosing to a person, other than the Plaintiff or her family,

 information affecting the Plaintiff’s reputation, whether or not for credit worthiness, with

 knowledge or reason to know that the other person does not have a legitimate business need for

 the information or that the information is false

         98.     Defendant WELLS FARGO engaged in an act or omission prohibited under section

 559.72(7), Florida Statutes, by willfully communicating with Plaintiff or any member of Plaintiff’s

 family with such frequency as can reasonably be expected to harass the Plaintiff.



                                                    24
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 25 of 35 PageID 1010



         99.      Defendant WELLS FARGO engaged in an act or omission prohibited under section

 559.72(7), Florida Statutes, by willfully engaging in other conduct which can reasonably be

 expected to abuse or harass the Plaintiff.

         100.     Defendant WELLS FARGO engaged in an act or omission prohibited under section

 559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that the debt

 is not legitimate, or asserting the existence of some other legal right when such person knows that

 the right does not exist.

         101.     Defendant WELLS FARGO’s actions have directly and proximately resulted in

 Plaintiff’s prior and continuing sustaining of damages as described by section 559.77, Florida

 Statutes, including, but not limited to: statutory damages, actual damages in the form of emotional

 pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity for the

 enjoyment of life; and attorney fees, interest and costs.

         WHEREFORE Plaintiff, KAREN L. HICKS, respectfully demands judgment against

 Defendant WELLS FARGO for statutory damages, actual damages, punitive damages, an

 injunction from similar conduct in the future, attorney fees, costs, interest and such other relief as

 this Court deems just and proper.

                                               COUNT III
               (Intentional Infliction of Emotional Distress against WELLS FARGO)

         102.     Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         103.     The outrageous conduct of Defendant WELLS FARGO individually, and through

 its employees, agents, representatives and collectors, as described herein, deliberately, recklessly

 and/or intentionally inflicted emotional distress on the Plaintiff.



                                                   25
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 26 of 35 PageID 1011



         104.    The outrageous conduct of Defendant WELLS FARGO, as described herein, was

 directed at Plaintiff by and through Defendant’s employees, agents, apparent agents or other

 persons acting to benefit and further the interests of Defendant, and acting in the course and scope

 of their employment or agency with Defendant.

         105.    As a direct and proximate result of the outrageous conduct of Defendant WELLS

 FARGO as described herein, Plaintiff sustained mental pain and suffering, emotional distress,

 mental anguish, inconvenience, and loss of capacity for the enjoyment of life.

         WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands a trial by jury of all

 issues so triable and judgment against Defendant WELLS FARGO for compensatory damages,

 punitive damages, costs, interest and such other relief as this Court deems just and proper.

                                               COUNT IV
                           (Slander of Credit against WELLS FARGO)

         106.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         107.    Defendant WELLS FARGO reported the Subject Mortgage Loan to the Consumer

 Reporting Agencies (hereafter “CRAs”) as a valid debt owed by Plaintiff, and that Plaintiff was

 severely delinquent, delinquent, resulting in the same being reflected on Plaintiff’s credit reports.

         108.    The above described reports to the CRAs by Defendant WELLS FARGO were

 false, as described herein, because Plaintiff has never had a legal obligation to pay the WELLS

 FARGO with respect to the Subject Mortgage Loan.

         109.    In making the above reports to the CRAs, Defendant WELLS FARGO knew that

 they were false or exhibited a reckless and/or knowing disregard for their truth or falsity.

         110.    As a direct result of the above described false credit reporting by Defendant

 WELLS FARGO, Plaintiff’s credit scores and credit worthiness have been impaired.

                                                  26
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 27 of 35 PageID 1012



         111.    As a direct and proximate result of the above described false credit reports by

 Defendant WELLS FARGO, Plaintiff has suffered losses and damages.

         WHEREFORE, Plaintiff respectfully demands judgment against Defendant WELLS

 FARGO for compensatory damages, punitive damages, costs, interest and such other relief as this

 Court deems just and proper.

                                               COUNT V

                   (Violation of the FCCPA against ALDRIDGE CONNORS)

         112.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         113.    At all times material to this action Defendant ALDRIDGE CONNORS was and is

 subject to and must abide by the law of Florida, including section 559.72, Florida Statutes.

         114.    Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 section 559.72(7), Florida Statutes, by willfully engaging in conduct, the natural consequence of

 which can reasonably be expected to abuse or harass the Plaintiff.

         115.    Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 section 559.72(9), Florida Statutes, by attempting to enforce a debt when such person knows that

 the debt is not legitimate, or asserting the existence of some other legal right when such person

 knows that the right does not exist.

         116.    Defendant ALDRIDGE CONNORS’ actions have directly and proximately

 resulted in Plaintiff’s prior and continuing sustaining of damages as described by section 559.77,

 Florida Statutes, including, but not limited to: statutory damages, actual damages in the form of

 emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the capacity for

 the enjoyment of life; and attorney fees, interest and costs.



                                                  27
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 28 of 35 PageID 1013



         WHEREFORE Plaintiff, KAREN L. HICKS, respectfully demands judgment against

 Defendant ALDRIDGE CONNORS for statutory damages, actual damages, punitive damages, an

 injunction from similar conduct in the future, attorney fees, costs, interest and such other relief as

 this Court deems just and proper.

                                               COUNT VI

                   (Violation of the FDCPA against ALDRIDGE CONNORS)

         117.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         118.    Plaintiff has been the object of collection activity by Defendant ALDRIDGE

 CONNORS arising from a consumer debt.

         119.    Defendant ALDRIDGE CONNORS regularly attempts to collect payments of

 consumer debts through litigation or legal proceedings, including but not limited to mortgage

 foreclosure actions, and is therefore a “debt collector” as defined by the FDCPA.

         120.    Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 15 U.S.C. § 1692d by engaging in conduct in connection with the collection of a debt, the natural

 consequence of which is to harass, oppress, or abuse the Plaintiff.

         121.    Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 15 U.S.C. § 1692e(2)(A) by falsely representing the character, amount, or legal status of any debt.

         122.    Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 15 U.S.C. § 1692e(2)(B) by falsely representing the services rendered or compensation which may

 be lawfully received by any debt collector for the collection of a debt.




                                                  28
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 29 of 35 PageID 1014



         123.      Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 15 U.S.C. § 1692e(10) by using false representations or deceptive means to collect or attempt to

 collect a debt or to obtain information concerning the Plaintiff.

         124.      Defendant ALDRIDGE CONNORS engaged in an act or omission prohibited under

 15 U.S.C. § 1692f by using unfair or unconscionable means to collect or attempt to collect a debt

 from Plaintiff.

         125.      Defendant ALDRIDGE CONNORS’ acts and omissions as described herein have

 directly and proximately resulted in Plaintiff’s prior and continuing sustaining of damages as

 described by 15 U.S.C. § 1692 including, but not limited to: statutory damages, actual damages in

 the form of emotional pain and suffering, fear, worry, embarrassment, humiliation and loss of the

 capacity for the enjoyment of life, and attorney fees, interest and costs.

         126.      WHEREFORE Plaintiff, KAREN L. HICKS, respectfully demands judgment

 against Defendant ALDRIDGE CONNORS for statutory damages, actual damages, an injunction

 from similar conduct in the future, attorney fees, costs, interest and such other relief as this Court

 deems just and proper

                                               COUNT VII

               (Violation of the Racketeer Influenced and Corrupt Organizations
          Act, 18 U.S.C. § 1962(c), against WELLS FARGO, ASSURANT and ASIC)

         127.      Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         128.      At all relevant times, Defendants were employed by and associated with an illegal

 enterprise, and conducted and participated in that enterprise’s affairs, through a pattern of

 racketeering activity consisting of numerous and repeated uses of the interstate mails and wire




                                                    29
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 30 of 35 PageID 1015



 communications to execute a scheme to defraud, all in violation of the Racketeer Influenced and

 Corrupt Organizations Act (hereafter “RICO”), 18 U.S.C. § 1962(c).

        129.    The RICO enterprise which engaged in and the activities of which affected

 interstate and foreign commerce, was comprised of an association in fact of entities and

 individuals that included WELLS FARGO, ASSURANT, and ASIC.

        130.    The members of the RICO enterprise had a common purpose: to increase and

 maximize their revenues by forcing borrowers to pay unreasonably high charges for force-placed

 insurance through a scheme that inflated the premiums to cover kickbacks and expenses associated

 with monitoring WELLS FARGO’s entire loan portfolio. Defendants shared the bounty of their

 enterprise, i.e., by sharing the premiums generated by the joint scheme.

        131.    The RICO enterprise functioned over a period of years as a continuing unit and

 had a maintained and ascertainable structure separate and distinct from the pattern of

 racketeering activity.

        132.    Defendants WELLS FARGO, ASSURANT, and ASIC conducted and participated

 in the affairs of this RICO enterprise through a pattern of racketeering activity that lasted more

 than one year, at a minimum, and that consisted of numerous and repeated violations of federal

 mail and wire fraud statutes, which prohibit the use of any interstate or foreign wire or mail facility

 for the purpose of executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.

        133.    As part of and in furtherance of the scheme to defraud, Defendants made

 numerous material omissions and misrepresentations to Plaintiff with the intent to defraud and

 deceive Plaintiff. For example, ASSURANT and ASIC, with the approval of WELLS FARGO,

 sent form letters to Plaintiff on WELLS FARGO letterhead, stating that WELLS FARGO would

 purchase or renew force-placed coverage if voluntary insurance was not secured by a certain date.



                                                   30
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 31 of 35 PageID 1016



 These Defendants represented in the letters that they would charge Plaintiff for the “cost of the

 insurance.” In making these statements, Defendants knowingly and intentionally fostered the

 mistaken impression that the force-placed insurance premiums that Plaintiff was charged

 represented the cost of the policies when in fact such premiums cost more because they were

 inflated to include kickbacks, unmerited “expense reimbursements,” reinsurance profits,

 discounts, or subsidized costs returned to WELLS FARGO or its affiliates. Defendants had a duty

 to correct this mistaken impression. The omission was material, as it gave Defendants a colorable

 reason to charge Plaintiff unreasonably high charges for the force-placed insurance.

        134.    For the purpose of executing the scheme to defraud, Defendants sent, mailed and

 transmitted, or caused to be sent, mailed or transmitted, in interstate or foreign commerce

 numerous materials, including but not limited to the notices and letters described above

 informing Plaintiff that they could charge Plaintiff unreasonably high force-placed insurance

 premiums. Defendants also transferred sums among themselves, including but not limited to

 various forms of kickbacks, in furtherance of their scheme to defraud Plaintiff, in violation of

 the wire fraud statutes.

        135.    By reason and as a result of Defendants’ conduct and participation in the

 racketeering activity alleged herein, Defendants have caused damages to Plaintiff in the form of

 unreasonably high charges for force-placed insurance premiums, which Defendant WELLS

 FARGO has sought to collect from Plaintiff individually by virtue of the above described

 Foreclosure Proceeding.

       WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

 Defendants WELLS FARGO, ASSURANT and ASIC for compensatory and treble damages, and




                                                31
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 32 of 35 PageID 1017



 attorneys’ fees and costs, pursuant to 18 U.S.C. § 1964(c), plus interest and such other relief as this

 Court deems just and proper.

                                               COUNT VIII

               (Violation of the Racketeer Influenced and Corrupt Organizations
          Act, 18 U.S.C. § 1962(d) Against WELLS FARGO, ASSURANT and ASIC)

         136.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         137.    At all relevant times, Defendants were associated with the enterprise and agreed

 and conspired to violate 18 U.S.C. § 1962(d). Defendants agreed to conduct and participate,

 directly and indirectly, in the conduct and affairs of the enterprise through a pattern of racketeering

 activity, in violation of 18 U.S.C. § 1962(d).

         138.    Defendants agreed that ASIC and ASSURANT would be WELLS FARGO’s

 exclusive force-placed insurance providers and would extract the unreasonably high premiums

 from WELLS FARGO’s customers. Defendants also agreed that the Assurant Defendants would

 pay kickbacks to WELLS FARGO or its affiliates.

         139.    WELLS FARGO affiliates pass much of these profits from this scheme to WELLS

 FARGO.

         140.    ASIC passes much of its profits from this scheme to ASSURANT.

         141.    Defendants committed and caused to be committed a series of overt acts in

 furtherance of the conspiracy and to affect the objects thereof, including but not limited to the acts

 set forth above.

         142.    As a result of Defendants’ violations of 18 U.S.C. § 1962(d), Plaintiff suffered

 damages in the form of unreasonably high force-placed insurance premiums.




                                                   32
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 33 of 35 PageID 1018



        WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

 Defendants WELLS FARGO, ASSURANT and ASIC for compensatory and treble damages, and

 attorneys’ fees and costs, pursuant to 18 U.S.C. § 1964(d), plus interest and such other relief as

 this Court deems just and proper.

                                               COUNT IV

         (Violation of RESPA, 12 U.S.C. § 2601, et seq, against WELLS FARGO)

         143.    Plaintiff re-alleges and incorporates by reference the allegations of Paragraphs (1)

 through (65), as if fully set forth herein.

         144.    The subject mortgage loan qualifies as a “federally related mortgage loan” under §

 2602(1)(B)(i) because the mortgage loan was made in whole or in part by a lender, the deposits or

 accounts of which are insured by any agency of the Federal Government, or were made in whole

 or in part by a lender which is regulated by any agency of the Federal Government.

         145.    This claim for relief arises under 12 U.S.C. § 2605 which authorizes, among other

 things, actual damages in an individual action.

         146.    This section of RESPA requires that all charges related to force-placed insurance,

 apart from charges subject to state regulation as the business of insurance, imposed on the borrower

 by or through the servicer shall be bona fide and reasonable.

         147.    WELLS FARGO is a mortgage servicer or lender to whom the requirements of

 section 2605 of RESPA apply.

         148.    Wells Fargo has violated § 2605 of RESPA by charging premiums that are unfairly

 and egregiously costly. This excessively-priced, force-placed insurance cannot be considered bona

 fide and reasonable because Wells Fargo exercised its discretion in choosing an insurance policy

 capriciously, in bad faith, and in contravention of the parties’ reasonable expectations by



                                                   33
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 34 of 35 PageID 1019



 purposefully selecting an exorbitantly-priced policy and by giving and receiving kickbacks for the

 procurement of these exorbitantly-priced, force-placed insurance policies. It has negotiated

 exclusive terms with the Assurant Defendants whereby it receives kickbacks tied to the cost of the

 insurance premiums. This incentive drives WELLS FARGO to purchase the highest priced forced

 placed insurance policy that it can, and to often include coverage that is unnecessary.

        149.    The force-placed insurance purchased by WELLS FARGO and passed on to

 Plaintiff cannot be considered bona fide and reasonable as it can cost up to ten times the amount

 of standard insurance that a borrower was previously paying or could obtain on the open market.

        150.    Furthermore, the high-priced premiums charged to Plaintiff cannot be considered

 reasonable because, despite WELLS FARGO receiving a kickback or commission on each policy

 it purchases, it does not pass that savings amount on to Plaintiff. Instead, it still charges the

 borrowers the full unwarranted and unreasonable amount for the exorbitantly-priced and/or

 backdated force-placed insurance.

        151.    The foregoing actions constitute a general business practice and pattern of WELLS

 FARGO.

        WHEREFORE, Plaintiff KAREN L. HICKS respectfully demands judgment against

 Defendant WELLS FARGO, for actual damages in the form of unreasonable force-placed

 insurance premiums in violation of Section 2605 of RESPA, together with additional damages the

 court may allow as a result of the pattern of purchasing high-priced and unnecessary force-placed

 insurance in order to collect a large kickback or commission, in addition to attorneys’ fees and

 costs, interest, and such other relief as this Court deems just and proper.




                                                  34
Case 8:15-cv-00454-MSS-TBM Document 40 Filed 05/30/15 Page 35 of 35 PageID 1020



                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 30th day of May, 2015, I electronically filed the

 foregoing with the Clerk of the Court using CM/ECF system which will send a notice of electronic

 filings via the Court’s ECF system to all CM/ECF participants.

                                               s/David P. Mitchell_
                                               David P. Mitchell, Esq.
                                               Florida Bar No. 067249
                                               MANEY & GORDON, P.A.
                                               101 East Kennedy Blvd., Suite 3170
                                               Tampa, Florida 33602
                                               Telephone: (813) 221-1366
                                               Fax: (813) 223-5920
                                               David@MitchellConsumerLaw.com
                                               d.mitchell@maneygordon.com
                                               v.marrero@maneygordon.com
                                               Counsel for Plaintiff




                                               35
